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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

UNITED STATES OF AMERICA                       )       CaseNo.: 2:17-CR-283
                                               )
                vs.                            )       ORDER OF CONTINUANCE
                                               )
ZAKARYIA ABDEL ABDIN                           )

        This matter is before me by motion of the Defendant, made with the consent of the

United States of America ("government"), for a continuance in this case until the next term of

court. The Defendant requested the continuance because the case involves classified

information, which may fall under the Classified Information Procedures Act, 18 U.S.C. App. III

§§ 1-16 (CIPA), and because discovery is ongoing.

        Under the Speedy Trial Act, the government is required to try a defendant within seventy

days of indictment, or of arraignment. 18 U.S.C. § 3161 (c)(1 ). The Defendant was arrested on a

Complaint filed on March 31 , 2017, which charged a violation of 18 U.S.C . § 2339B (attempting

to provide material support to a foreign terrorist organization). On April 4, 2017, the Defendant

was indicted by the grand jury and he was arraigned on April 4, 2017.

        Under the Speedy Trial Act, certain periods of delay are permissible. 18 U.S.C. §

3161 (h)(l). Delays of time attributable to specific events are excluded under the terms of the

Act, including the filing of motions. 18 U.S.C. §3161(h)(l)(D). In this case, the Defendant filed

motions for discovery on April 6, 2017. Additionally, the Court has previously entered Orders to

Continue, which also secures a delay. 18 U.S.C. § 3161(h)(7)(A).

       Further, because this is a case which involves CIP A, there are additional complexities.

Here, because of the classified nature of the discovery in the case and the factors relating to the

dissemination of that information, I find that the nature of the prosecution is such that "it is
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unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself within

the time limits established ... . " Title 18, United States Code,§ 3161(h)(7)(B)(ii).

        Therefore, under the provisions of the Speedy Trial Act of 1974, I find that the ends of

justice served by the continuance outweigh the best interests of the public and the Defendant in a

speedy trial.

        It is therefore ORDERED that the above-case is continued from the current term of court

until the next term of court.

AND IT IS SO ORDERED.




Charlesto~C
This 'J 0 -       day of March, 2018.
